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AO 245B (Rev. 09/1l)(VAED rev. 2) Sheet I - Judgment in a Criminal Case



                                           UNITED STATES DISTRICT COURT
                                                      Eastern District of Virginia
                                                             Alexandria Division

UNITED STATES OF AMERICA
                     V.                                                   Case Number;    3:12CR00137-001



  KOLON INDUSTRIES, INC.
       Including and through its successors                               Defendant's Attorneys: Jeff G. Randall, Esquire
      "Kolon Industries, Inc." and                                                               Mark D. Pollock, Esquire
      "Kolon Corporation"                                                                        Gretchen Byrd, Esquire

Defendant.


                                            JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilty to Count I of the Superseding Indictment.
    Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

Title and Section                      Nature of Offense                         Offense Class     Offense Ended      Count


18 U.S.C. § 1832(a)(5)                 Conspiracy to Convert Trade Secrets       Felony            02/03/2009           1



  On motion of the United States, the Court has dismissed Counts 2,3,4, 5, and 6 of the Indictment as to defendant
KOLON INDUSTRIES, INC.

   As pronounced on April 30, 2015, the defendant is sentenced as provided in pages 2 through 5 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence,or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attomey of material
changes in economic circumstances.
                       S/
    Signed this J_           day of hi                        ,2015.




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                                                                              United States
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